         CASE 0:20-cv-00793-NEB-ECW Doc. 126 Filed 05/27/20 Page 1 of 8




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


    MOHAMMED S., et al,                              Case No. 20‐CV‐783 (NEB/ECW)

                      Petitioners,

    v.                                            AMENDED ORDER ACCEPTING
                                                 REPORT AND RECOMMENDATION
    LESLIE TRITTEN, MATTHEW T.
    ALBENCE, U.S. IMMIGRATION AND
    CUSTOMS ENFORCEMENT, CHAD
    WOLF, WILLIAM P. BARR, and JOEL
    BROTT,

                      Respondents.



         Petitioners are U.S. Immigration and Customs Enforcement detainees who have

filed a motion for a temporary restraining order or, in the alternative, for a preliminary

injunction requiring Respondents to release them from their present detention at the

Sherburne County Jail. (ECF No. 43 (“Motion”).) In an April 28, 2020 Report and

Recommendation,      United    States   Magistrate    Judge   Elizabeth    Cowan     Wright

recommended that Petitioners’ motion be denied without prejudice. (ECF No. 94

(“R&R”).) Petitioners1 and the Federal Respondents filed objections to the R&R, and all

parties responded to the opposing parties’ objections. (ECF Nos. 98, 99, 104–107.)



1 Petitioners represent that as of May 1, 2020, 38 of the initial 62 Petitioners remain in
custody. (ECF No. 98 at 7.) Since then, at least one additional Petitioner has been released.
(ECF No. 124.)
       CASE 0:20-cv-00793-NEB-ECW Doc. 126 Filed 05/27/20 Page 2 of 8




According to statute, the Court must conduct a de novo review of any portion of the

Magistrate Judge’s opinion to which specific objections are made. 28 U.S.C. § 636(b)(1);

accord D. Minn. LR 72.2(b)(3). Based on that de novo review, and for the reasons that

follow, the Court overrules the parties’ objections, accepts the R&R, and denies the

motion.

       The R&R is thorough and well‐reasoned, and the Court agrees with both its

analysis and its conclusion. A few issues warrant further explanation. First, it is important

to recognize that the Court, in considering Petitioners’ motion for release, is not writing

on a blank slate. To the extent the petition and motion for injunctive relief challenge

discretionary detention decisions by immigration judges, this Court lacks jurisdiction to

consider Petitioners’ requests. See 8 U.S.C. §§ 1226(a), 1226(e), 1252(a)(2)(B)(ii); (R&R at

40–41). Immigration judges have broad discretion in deciding whether to release a

detainee on bond. See Nielsen v. Preap, 139 S. Ct. 954, 959–60 (2019) (Section 1226(a)

“generally gives the Secretary [of Homeland Security] the discretion either to detain the

alien or to release him on bond or parole.”).2 Petitioners assert a claim outside of that

decision chain, presenting a constitutional question. See Mohamed v. Secʹy Depʹt of




2The Supreme Court recently summarized how § 1226(a) generally permits an alien to
seek release: “If the alien is detained, he may seek review of his detention by an officer at
the Department of Homeland Security and then by an immigration judge (both exercising
power delegated by the Secretary).” Nielsen, 139 S. Ct. at 959–60. “[T]he alien may secure
his release if he can convince the officer or immigration judge that he poses no flight risk
and no danger to the community.” Id. at 960.


                                             2
       CASE 0:20-cv-00793-NEB-ECW Doc. 126 Filed 05/27/20 Page 3 of 8




Homeland Sec., 376 F. Supp. 3d 950, 954 (D. Minn. 2018) (“On habeas review . . . this Court

may decide whether [a detainee’s] continued detention violates his constitutional due

process rights.”). Petitioners argue that continued detention is unconstitutional due to

the COVID‐19 pandemic, and as Judge Wright explains, the constitutional analysis

requires Petitioners to demonstrate a likelihood of success on the question of whether

Respondents were deliberately indifferent to their serious medical needs and safety. The

R&R assiduously addresses this standard and the evidence presented. (R&R at 50–62.) It

correctly concludes that Petitioners have not made the required showing, and therefore

their motion must be denied.

       Second, there is a legitimate issue over whether this case is appropriately brought

under habeas jurisdiction; the Federal Respondents argue it is not. (ECF No. 99 at 2.)

Before the COVID‐19 pandemic and the significant case law that has developed in its

wake, the Eighth Circuit held that as a general matter, habeas proceedings are not

available to challenge conditions of confinement. Spencer v. Haynes, 774 F.3d 467, 469–70

(8th Cir. 2014). And the Eighth Circuit did not do so lightly; it recognized a significant

circuit split on this issue. Id. at 470–71. Since the pandemic, a wave of cases in circuits

with precedent on both sides of this issue have struggled with the correct procedural




                                            3
        CASE 0:20-cv-00793-NEB-ECW Doc. 126 Filed 05/27/20 Page 4 of 8




vehicle to use for pandemic‐driven constitutional claims by ICE detainees requesting

release.3

       It appears to this Court that habeas jurisdiction is appropriate and outside the

holding of Spencer, which specifically noted that the petitioner there did not “seek a

remedy that would result in an earlier release from prison.” 774 F.3d at 469. Treatment of

this case under habeas jurisdiction is not, as the Federal Respondents suggest, merely due

to the “unique and unprecedented dilemma that the COVID‐19 pandemic presents.”

(ECF No. 99 at 2 (quoting R&R at 44).) Instead, the use of habeas jurisdiction comes from

the relief sought by Petitioners and analogous case law. As Judge Wright notes, the plain

language of 28 U.S.C. § 2241 states that a writ of habeas corpus under § 2241 shall not

extend to an individual unless “[h]e is in custody in violation of the Constitution or laws

or treaties of the United States.” (R&R at 45 (quoting 28 U.S.C. § 2241(c)(3)).) Petitioners’




3 Compare, e.g., Favi v. Kolitwenzew, No. 20‐CV‐2087, 2020 WL 2114566, at *6 (C.D. Ill.
May 4, 2020) (noting that “in most circumstances, the Seventh Circuit has found that a
claim of unconstitutional conditions of confinement or failure to provide medical
treatment would not entitle a Petitioner to release,” but that “[c]ourts across the country
addressing similar claims of civil immigration detainees during the COVID‐19 pandemic
have found that such a claim can proceed in a habeas corpus petition.”) (collecting cases),
with Betancourt Barco v. Price, No. 2:20‐CV‐350‐WJ‐CG, 2020 WL 2099890, at *6 (D.N.M.
May 1, 2020) (“Plaintiffs do not allege that the fact that they are detained for removal
proceedings or that the length of their detention is illegal. Accordingly, the Court finds
that Plaintiffs are challenging the conditions of their detention, as opposed to its fact or
duration, which is not appropriate under 28 U.S.C. § 2241.”), and Matos v. Lopez Vega,
No. 20‐CIV‐60784‐RAR, 2020 WL 2298775, at *6 (S.D. Fla. May 6, 2020) (“Given that
Petitioners are seeking to contest the conditions of their confinement, they cannot avail
themselves of a petition for writ of habeas corpus.”).


                                             4
       CASE 0:20-cv-00793-NEB-ECW Doc. 126 Filed 05/27/20 Page 5 of 8




argument is not a request to change conditions of their confinement to lessen the danger

of the pandemic; instead, their argument is that the Sherburne County Jail (“SCJ”) has

violated the Constitution because it “cannot prevent an outbreak of COVID‐19,” no

matter the protective measures taken. (ECF No. 45 at 16; see ECF No. 68 at 4 (“Petitioners

are not challenging the conditions of their confinement but challenging the very fact of

confinement itself.”).) In such situations, where the relief requested is release, and the

argument is that confinement itself is unconstitutional, this Court agrees that it has the

authority to release individuals from custody through a § 2241 petition. See, e.g., Awshana

v. Adduci, No. 20‐10699, 2020 WL 1808906, at *1–*2 (E.D. Mich. Apr. 9, 2020) (treating a

request for release due to COVID‐19 as a habeas petition because the petitioners argued




                                            5
        CASE 0:20-cv-00793-NEB-ECW Doc. 126 Filed 05/27/20 Page 6 of 8




that “the only remedy that will vindicate their due process right under the Fifth

Amendment is release from custody”).4 5




4 The Awshana Court determined that habeas jurisdiction was appropriate even though
the Sixth Circuit, like the Eighth, recognizes generally that Section 2241 “is not the proper
vehicle for a prisoner to challenge conditions of confinement.” 2020 WL 1808906, at *1
(quoting Luedtke v. Berkebile, 704 F.3d 465, 466 (6th Cir. 2013)); see Spencer, 774 F.3d at 471
(concluding that a habeas petition is not the proper avenue to remedy constitutional
claims relating to conditions of confinement). See also, e.g., Eissen v. Barr, No. 20‐cv‐1034‐
WJM, 2020 WL 1974761, at *3 (D. Colo. Apr. 24, 2020) (finding that where a detainee “is
challenging the very fact or duration of his physical imprisonment, and the relief he seeks
is a determination that he is entitled to immediate release or a speedier release from that
imprisonment, his sole federal remedy is a writ of habeas corpus” (quoting Preiser v.
Rodriguez, 411 U.S. 475, 500 (1973)); Engelund v. Doll, No. 4:20‐CV‐00604, 2020 WL
1974389, at *7 (M.D. Pa. Apr. 24, 2020) (acknowledging that while Supreme Court and
Third Circuit precedent on this issue is limited, numerous courts within its district had
examined whether individuals may seek release from custody through a § 2241 petition,
and concluded that such relief was appropriate); Malam v. Adducci, No. 20‐10829, 2020
WL 1672662, at *4 (E.D. Mich. Apr. 5, 2020), as amended (Apr. 6, 2020) (finding petitioner’s
claim was properly brought under § 2241 where she asserted that “no matter what steps
are taken,” no facility could hold her constitutionally).

5In addition, the Court notes that Petitioners have put forward an alternative ground for
jurisdiction—a cause of action under 28 U.S.C. § 1331. (ECF No. 19 ¶ 62.) Other courts
addressing similar petitions have recognized this ground, and Respondents here have
not contested it. E.g., Urdaneta v. Keeton, No. CV2000654PHXSPLJFM, 2020 WL 2319980,
at *7 (D. Ariz. May 11, 2020) (“Even if the Court were to lack jurisdiction to review
Petitioners’ claims under § 2241, Petitioners have alternatively pleaded a cause of action
under the Fifth Amendment for injunctive and declaratory relief, over which the Court
would have jurisdiction under 28 U.S.C. § 1331, as an equitable cause of action under the
Constitution.”); Malam, 2020 WL 1672662, at *4 (“Should Petitionerʹs habeas petition fail
on jurisdictional grounds, the Fifth Amendment provides Petitioner with an implied
cause of action, and accordingly 28 U.S.C. 1331 would vest the Court with jurisdiction.”).


                                              6
       CASE 0:20-cv-00793-NEB-ECW Doc. 126 Filed 05/27/20 Page 7 of 8




       Even if habeas jurisdiction is lacking, the R&R should be accepted nonetheless,6

because it correctly concludes that Petitioners have not demonstrated sufficient

likelihood of success on the merits of their claims. Most importantly, Petitioners have

failed to demonstrate that Respondents have acted with deliberate indifference to their

medical care and reasonable safety or engaged in unlawful punishments for the purposes

of their due process claims. (R&R at 50–62.)

       The final issue meriting further comment is Petitioners’ objection to the R&R based

on their assertion that the SCJ has made a “deliberate decision not to test inmates or staff

for COVID‐19.” (ECF No. 98 at 11.) As the SCJ makes clear, testing supplies are limited

everywhere, the SCJ has followed the Minnesota Department of Health (“MDH”)

guidelines for testing, and these guidelines are influenced by national shortages of testing

supplies. (ECF No. 105 at 3–6.) Moreover, the SCJ notes that Minnesota’s testing capacity

is increasing, and that the SCJ has received additional tests; the SCJ attests that it will




6Because of the unclear landscape of the use of habeas jurisdiction in these circumstances,
courts concluding that habeas jurisdiction is inappropriate have nonetheless ruled on the
merits of requests for injunctions, in part because of the emergency nature of the relief
sought. See, e.g., Sacal‐Micha v. Longoria, No. 1:20‐CV‐37, 2020 WL 1518861, at *4 (S.D. Tex.
Mar. 27, 2020) (rejecting argument that habeas jurisdiction is appropriate, but addressing
the merits nonetheless, determining that the claim is not likely to succeed in the absence
of a showing of deliberate indifference to the detainees’ medical needs); Toure v. Hott,
No. 1:20‐CV‐395, 2020 WL 2092639, at *9 (E.D. Va. Apr. 29, 2020) (holding § 2241 did not
apply to detainees’ claims; “[i]n addition, and in the alternative, the Court finds Plaintiffs
unlikely to succeed on the merits of their substantive claims even if they were entitled to
release.”).


                                               7
       CASE 0:20-cv-00793-NEB-ECW Doc. 126 Filed 05/27/20 Page 8 of 8




continue to follow MDH guidelines on testing. On this record, there is no evidence that

the SCJ is ignoring any known health risk.

                                   CONCLUSION

      Based upon all the files, records, and proceedings in the above‐captioned matter,

IT IS HEREBY ORDERED THAT:

      1.     The parties’ objections to the Report and Recommendation (ECF Nos. 98,

             99) are OVERRULED;

      2.     The Report and Recommendation (ECF No. 94) is ACCEPTED; and

      2.     Petitioners’ Motion for Temporary Restraining Order or Preliminary

             Injunction (ECF No. 43) is DENIED.




Dated: May 27, 2020                              BY THE COURT:

                                                 s/Nancy E. Brasel
                                                 Nancy E. Brasel
                                                 United States District Judge




                                             8
